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                EXHIBIT 9
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          ACKER WOOD                                                       Gwen R. Acker Wood, PhD, Esq.o President

INTELLECTUAL PROPERTY LAW" LLC                                             Anthony H. Handal, Esq., Of Counsel

            Gbbal   Ip   Assets protection
                                                                                          Exhibit 9
    C

     April29,2Q22

     VIA EMAIL ATTACHMENT

     Anthony Doherty
     SMITHDEHN LLP
     100 Park Avenue, 16th Floor
     New York, NY 10017

         RE: "Tiqer Kinq Season 2:" Unauthorized Use of Copvriqhted Artwork "Quarantine 2020"

     Dear Mr. Doherty:

           We are in receipt of your second letter, dated March 30,2022, in response to our letter
    dated March 9,2022.

           We reiterate again our strong disagreement with your allegation that the Fair Use Doctrine
    bars our client, Molly Cramer ("our client") from claiming copyright infringement by Royal Goode
    Productions, LLC ("RGP') when it featured her copyrighted Joe Exotic "Quarantin e 2Q20" tattoo
    artwork (the "Artwork") in a segment of the Netflix series "Tiger King 2."

             Further, we reiterate our strong disagreement with your allegation that RGP's use of the
    Artwork was transformative, and thus qualifies as fair use under copyright law. Your contention
    that RGP incorporated a multitude of different images, added new audio and incorporated visual
    effects in order to create something entirely new and distinct, and is no mere repetition of the
    original in isolation, is disingenuous at best. Although the Artwork was used in conjunction with
    other film clips, such use did not in any way alter the Artwork's primary meaning or message,
    which was, and still is, to highlight, and thus exploit, Joe Exotic's popularity, global recognition,
    and the fact that he has become a social phenomenon in spite of his notoriety and proven
    criminality.

           We contend that the Artwork, which has been used by RGP as a "secondary work," cannot
    reasonably be perceived as embodying a distinct artistic purpose which conveys a meaning or
    message separate from the Artwork's primary meaning and message as stated above. Indeed,
    we contend that the distinctive artistic purpose of RGP's use of the Artwork which you allege is to
    comment and reflect upon the scale of the Tiger King phenomena, its global impact, the number
    of people jumping on the Tiger King bandwagon (i.e. Joe Exotic's popularity), and to question the
    motivation behind the hero worship of a convicted criminal, is almost, if not exactly, identical to
    the Artwork's primary meaning and message as stated above.



            Phone:412.486.1038     | Fax:    412.'187.2837   |   49SL   McKnight Road, Pittsburgh, PA IS23?
            Email: grwood@ackerwoodipla!|'.com I www.ackerwoodipraw.com
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                                                                                        Anthony Doherty
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        Therefore' notwithstanding thtl many arguments you have presented
                                                                            in an attempt to rebut
our client's claim of copyright infringement of her Artwoik by RGp, we stronjly
                                                                                 believe that there
can be no conclusion other than the fact that RGP has used our client's cipyrignted
                                                                                        Artwork in
the Tiger King Series 2 without her arlthorization, that RGP's use does
                                                                        not quafif' under fair use
under copyright law, that RGP's use of the Artwork is not transformative, and
                                                                                thus RGp can be
held liable for copyright infringement in a court of law.

        In an attempt to settle this matter fairly for all parties involved so as to avoid a protracted
lawsuit, we are amending our settlement demand down to $50,000.00 (fifty thousand
                                                                                  dollars). We
hope that your client will see the wi:sdom in accepting this setilement offer, and ask
                                                                                           that you
respond to us accordingly within ten days from the receipt of this letter, or by May g,2o2Z. please
be advised that if we do not hear from you by this date, we shall proceed tlo commence
                                                                                           a lawsuit
in federal court.

       This is not a full recitation of all outstanding facts and legal issues, and nothing in this letter
is meant to or should be construed to waive or limit any rights, claims, or remedies.

       Sincerely,




       Gwen R. Acker Wood, PhD, Esq.
       ACKER WOOD INTELLECTUAL PROPERTY LAW LLC
       4981 McKnight Road
       Direct: (412) 486-1038
       Fax: (412) 487-2837
       Email : grwood@ackenvoodiplaw. com
